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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
ELECTRONIC PRIVACY                  )
INFORMATION CENTER,                 )
                                    )
                  Plaintiff,        )
                                    )
              v.                    )                   Civil Action No. 19-cv-810 (RBW)
                                    )
UNITED STATES DEPARTMENT OF         )
JUSTICE,                            )
                                    )
                  Defendant.        )
___________________________________ )
                                    )
JASON LEOPOLD, BUZZFEED, INC.,      )
                                    )
                  Plaintiffs,       )
                                    )
              v.                    )                   Civil Action No. 19-cv-957 (RBW)
                                    )
UNITED STATES DEPARTMENT OF         )
JUSTICE, et al.                     )
                                    )
                  Defendants.       )
___________________________________ )

                                    JOINT STATUS REPORT

        Pursuant to the Court’s Order dated February 25, 2022, that the parties “file a joint status

report regarding the status of their [fee] negotiations,” Plaintiffs Jason Leopold and Buzzfeed, Inc.,

and Defendant U.S. Department of Justice (“DOJ”), by and through undersigned counsel,

respectfully submit this Joint Status Report.

        The parties are actively engaged in settlement discussions regarding attorney fees and

costs, and hope to reach an accord. Accordingly, they respectfully request that the Court continue

to stay the deadline for Plaintiff’s fee petition, and propose that the parties file another joint status

report in 45 days (by May 23, 2022) if the cases have not been dismissed by then.


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Dated: April 7, 2022                        Respectfully submitted,


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